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                    Exhibit 3
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L. Page Heslin                                                                      T +1 202 540 7200
ASSA ABLOY Inc.
110 Sargent Drive
New Haven, CT 06511                                                                         December 15, 2023

                                                                                     Invoice: 2002284 (revised)
                                                                                        Client No: 200063.0001
                                                                                                     Page 1 of 3




Re: United States of America v. Assa Abloy

For services rendered in relation to the above-referenced matter August 10, 2023 through September 30, 2023


TIME SUMMARY HAUSFELD LLP:

 Name and Description                              Title                 Hours
 Coolidge, Melinda R.                              Partner
 Document/data review 1                                                   10.30
 DOJ communications                                                        2.90
 Planning and Project Management                                          30.80
 Interviews                                                                0.20
 Other 2                                                                   1.30
 Team meetings/ communications                                             1.70
 Shin, Jane                                        Associate
 Document/data review                                                      0.10
 Team meetings/ communications                                             0.60
 Weick, Daniel                                     Counsel
 Document/data review                                                      1.70
 Planning and Project Management                                           1.30
 Other                                                                     0.20
 Team meetings/ communications                                             0.30
 Total hours:                                                             51.40




1 Hausfeld document/data review time was related to reviewing the FJ and related divestiture agreements.
2 Hausfeld Other time was related to legal research.




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  Description                            Hours             Amount
  Document/data review                   12.10           $10,979.00
  DOJ communications                      2.90            $2,668.00
  Planning and Project Management        32.10           $29,441.00
  Interviews                              0.20              $184.00
  Other                                   1.50            $1,366.00
  Team meetings/ communications           2.60            $2,167.00
  Total Fees:                            51.40           $46,805.00




 TIME SUMMARY STONETURN:

  Name and Description                      Title             Hours
  Edwards, Michele                     Partner
  Planning and Project Management                                 13.50
  Monitoring Trustee Team Meetings and
                                                                   6.20
  Communications
                                       Managing
  Van Houten, Lisa
                                       Director
  Data/Document Review   3
                                                                   1.40
  Planning and Project Management                                  4.10
  Monitoring Trustee Team Meetings and
                                                                   5.80
  Communications
                                       Managing
  Ball, Dana
                                       Director
  Planning and Project Management                                  2.20
  Monitoring Trustee Team Meetings and
                                                                   1.40
  Communications
  Total hours:                                                    34.60


 Description                     Hours                   Amount
 Document/ Data Review            1.40                   $1,050.00
 Planning and Project Management 19.80                   $17,440.00
 Team Meetings/ Communications 13.40                     $11,220.00
 Total Fees:                     34.60                   $29,710.00




EXPENSES:

 3 Stoneturn document/data review time was related to reviewing the FJ and related divestiture agreements.




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 Pacer Usage                                                                 $141.60
 Printing                                                                      $0.12
 Total Expenses due                                                          $141.72

 TOTAL AMOUNT DUE ON THIS INVOICE:                                        $76,656.72



               Payment for services rendered is due within 30 days of receipt of this invoice.
               PLEASE SEE ATTACHED DETAILS BELOW
               Wiring instructions:
               Citibank NA
               Account No. 15479862
               ABA Routing No. 254070116
               Swift code: CITIUS33
               Account Name: Hausfeld LLP IOLTA




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                                                                                        T +1 202 540 7200


                                                                                              December 15, 2023
L. Page Heslin                                                                                   Invoice: 2002325
ASSA ABLOY Inc.                                                                               (revised description)
110 Sargent Drive                                                                         Client No: 200063.0001
New Haven, CT 06511
                                                                                                        Page 1 of 5



Re: United States of America v. Assa Abloy

For services rendered in relation to the above-referenced matter October 1, 2023 through October 31,
2023


TIME SUMMARY HAUSFELD LLP:

 Name and Description            Title               Hours
 Coolidge, Melinda R.            Partner
 Analysis 1                                            2.30
 Data / Document Review                               18.80
 DOJ Meetings and                                      0.90
 Communications
 Interviews                                             2.70
 Monitoring Trustee Team                                5.50
 Meetings and
 Communications
 Other 2                                                1.80
 Planning and Project                                   2.70
 Management
 Ringeling, Camila               Associate
 Data / Document Review                                 2.50
 Monitoring Trustee Team                                2.50
 Meetings and
 Communications
 Other                                                  8.00
 Robinson, Elliot                Paralegal


1 Hausfeld Analysis and Data/Document Review time involved reviewing the existing record, various agreements

related to the FJ and divestiture, and factual research regarding the products involved.
2 Hausfeld time billed to Other was either legal research or related to obtaining a security clearance from the

Department of Justice.


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 Planning and Project                                  8.00
 Management
 Shin, Jane                     Associate
 Analysis                                             32.60
 Monitoring Trustee Team                               3.80
 Meetings and
 Communications
 Other                                                 3.00
 Weick, Daniel                  Counsel
 Analysis                                              9.00
 Monitoring Trustee Team                               4.00
 Meetings and
 Communications
 Planning and Project                                  3.50
 Management
 Total hours:                                        111.60

 Description                     Hours                 Amount
 Analysis                         43.90              $28,674.00
 Document/data review             21.30              $18,546.00
 DOJ Meetings and                  0.90                 $828.00
 Communications
 Planning and Project Management  14.20               $8,259.00
 Interviews                        2.70               $2,484.00
 Other                            12.80               $7,396.00
 Monitoring Trustee Team          15.80              $11,914.00
 Meetings
 Total Fees:                     111.60              $78,101.00



TIME SUMMARY STONETURN:

 Name and Description                      Title               Hours
 Edwards, Michele                          Partner
 Data/Document Review 3                                             1.50
 Interviews                                                         2.00
 Monitoring Trustee Team Meetings                                   4.20
 Planning and Project Management                                   12.90
                                           Managing
 Van Houten, Lisa
                                           Director
 Data/Document Review                                              10.20
 Interviews                                                         1.00
 Monitoring Trustee Team Meetings                                   4.40

3 Stoneturn Data/Document Review and Analysis involved reviewing the existing record, various agreements

related to the FJ and divestiture, and factual research regarding the products involved.


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 Other 4                                                            0.20
 Planning and Project Management                                   29.20
                                           Managing
 Ball, Dana
                                           Director
 Monitoring Trustee Team Meetings                                   3.90
 Nowakowski, Lauren                        Manager
 Data/Document Review                                               1.50
 Monitoring Trustee Team Meetings                                   3.90
 Planning and Project Management                                    6.50
                                           Senior
 Levy, Erica
                                           Consultant
 Analysis                                                           1.00
 Data/Document Review                                               1.40
 Monitoring Trustee Team Meetings                                   4.00
 Planning and Project Management                                   14.90
 Dixon, Tate                               Consultant
 Analysis                                                           2.10
 Data/Document Review                                               5.40
 Monitoring Trustee Team Meetings                                   4.40
 Other                                                              1.20
 Planning and Project Management                                   11.50
                                           General and
 Luk, Belvon
                                           Administrative
 Planning and Project Management                                    6.60
 Total hours:                                                     133.90



 Description                                          Hours         Amount
 Planning and Project Management                       81.60     $50,555.00
 Monitoring Trustee Team Meetings                      24.80     $15,697.50
 Data/Document Review                                  20.00     $12,497.50
 Analysis                                               3.10      $1,160.00
 Interviews                                             3.00      $2,650.00
 Other                                                  1.40        $570.00
 Total Fees:                                          133.90     $83,130.00




TIME SUMMARY BATES WHITE:

4 Stoneturn billed time to Other related to obtaining a security clearance from the Department of Justice.




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Bates White time was spent preparing for, reviewing documents for, and
analysis regarding the competitive intensity study.

 Name and Description                           Title           Hours
 Lobel, Scott                                   Partner
    Analysis                                                        0.50
    Data/Document Review                                            4.70
    Interviews                                                      1.30
    Monitoring Trustee Team Meetings &
 Communications                                                     2.20
    Planning and Project Management                                 4.30
 Schulenberg, Steven                            Partner
    Monitoring Trustee Team Meetings &
 Communications                                                     0.50
 Zayats, Slava                                  Partner
    Analysis                                                        2.20
    Data/Document Review                                            3.10
    Monitoring Trustee Team Meetings &
 Communications                                                     2.20
    Planning and Project Management                                 0.90
                                                Senior
 Belavadi, Tanmay                               Economist
     Data/Document Review                                          10.60
     DOJ Meetings & Communications                                  0.20
     Interviews                                                     0.50
     Monitoring Trustee Team Meetings &
 Communications                                                     1.70
     Planning and Project Management                                0.60
                                                Senior
 Stone, Christopher                             Consultant
     Analysis                                                       5.30
     Data/Document Review                                          29.00
     Monitoring Trustee Team Meetings &
 Communications                                                     1.00
 Rubenstein, Hannah                             Consultant
     Analysis                                                       2.20
     Data/Document Review                                           9.20
     Monitoring Trustee Team Meetings &
 Communications                                                     1.00
     Planning and Project Management                                0.40
 Total Hours                                                       83.60




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 Description                                Hours      Amount
 Analysis                                    10.20    $6,270.50
 Data/Document Review                        56.60   $31,171.50
 DOJ Meetings & Communications                0.20      $115.00
 Interviews                                   1.80    $1,425.00
 Monitoring Trustee Team                      8.60    $6,747.50
 Communications
 Planning and Project Management              6.20    $5,255.50
 Total Fees:                                 83.60   $50,985.00



EXPENSES:
Pacer Usage                                                                       $9.80
Printing                                                                          $0.96
Total Expenses due                                                                $10.76



TOTAL AMOUNT DUE ON THIS INVOICE:                                                 $212,226.76



              Payment for services rendered is due within 30 days of receipt of
              this invoice.
              PLEASE SEE ATTACHED DETAILS BELOW
              Wiring instructions:
              Citibank NA
              Account No. 15479862
              ABA Routing No. 254070116
              Swift code: CITIUS33
              Account Name: Hausfeld LLP IOLTA




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                                                                                       T +1 202 540 7200


                                                                                             December 20, 2023
L. Page Heslin                                                                                 Invoice: 2002358
ASSA ABLOY Inc.                                                                         Client No: 200063.0001
110 Sargent Drive
New Haven, CT 06511
                                                                                                      Page 1 of 5



Re: United States of America v. Assa Abloy

For services rendered in relation to the above-referenced matter November 1, 2023 through November
30, 2023.


TIME SUMMARY HAUSFELD LLP:


 Name and Description                       Title          Hours
 Coolidge, Melinda R.                       Partner
 Analysis 1                                                     7.90
 Data / Document Review                                         2.50
 DOJ Meetings and Communications                                3.60
 Interviews                                                     3.30
 Monitoring Trustee Team Meetings                              10.50
 and Communications
 Planning and Project Management                                3.60
 Ringeling, Camila                          Associate
 Analysis                                                       6.00
 Data / Document Review                                        50.50
 DOJ Meetings and Communications                                3.00
 Monitoring Trustee Team Meetings                              13.30
 and Communications
 Other 2                                                        4.00
 Robinson, Elliot                           Paralegal
 Analysis                                                       5.50


1 Hausfeld time billed to Analysis and Data/Document Review pertained to review of the divestiture agreements

and trial transcripts, legal research and factual product research, and preparation for meeting with Department of
Justice.
2 Hausfeld time billed to Other pertained to obtaining a security clearance.




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 Planning and Project Management                              18.00
 Shin, Jane                                 Associate
 Analysis                                                     61.30
 DOJ Meetings and Communications                               2.30
 Interviews                                                    0.90
 Monitoring Trustee Team Meetings                             12.30
 and Communications
 Other                                                          0.50
 Planning and Project Management                                0.10
 Weick, Daniel                              Counsel
 Analysis                                                     16.10
 DOJ Meetings and Communications                               3.10
 Interviews                                                    0.80
 Monitoring Trustee Team Meetings                             10.00
 and Communications
 Planning and Project Management                               0.20
 Travel                                                        5.90
 Total Hours:                                                245.20


  Description                             Hours         Amount
  Analysis                                 96.80      $61,432.00
  Data / Document Review                   53.00      $27,550.00
  DOJ Meetings and                         12.00       $8,781.00
  Communications
  Interviews                                5.00       $4,238.00
  Monitoring Trustee Team                  46.10      $31,944.00
  Meetings and
  Communications
  Other                                     4.50       $2,290.00
  Planning and Project                     21.90       $9,840.00
  Management
  Travel                                    5.90       $5,015.00
  Total Fees:                             245.20     $151,090.00




TIME SUMMARY STONETURN:

 Name and Description                     Title               Hours
 Edwards, Michele                         Partner
 Analysis 3                                                        5.00

3 StoneTurn time billed to Analysis related to assessing the implications of the APSO to the FJ and Monitoring




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 Data/Document Review 4                                               3.80
 DOJ Meetings and                                                     2.30
 Communications
 Interviews                                                           2.70
 Monitoring Trustee Team Meetings                                     6.50
 and Communications
 Planning and Project Management                                    14.60
 Travel                                                              7.30
 Liew, Jason                                Partner
 Data/Document Review                                                 1.60
 Monitoring Trustee Team Meetings                                     2.50
 and Communications
 Planning and Project Management                                      0.20
                                            Managing
 Van Houten, Lisa
                                            Director
 DOJ Meetings and                                                     2.30
 Communications
 Interviews                                                          2.70
 Monitoring Trustee Team Meetings                                   10.00
 and Communications
 Other 5                                                             1.40
 Planning and Project Management                                    37.60
 Travel                                                              5.00
                                            Managing
 Ball, Dana
                                            Director
 Data/Document Review                                                 3.80
 Monitoring Trustee Team Meetings                                     9.40
 and Communications
 Planning and Project Management                                      8.40
 Travel                                                               3.00
 LaRocca, Lauren                            Manager
 Data/Document Review                                                4.10
 Monitoring Trustee Team Meetings                                   10.30
 and Communications
 Planning and Project Management                                      9.60
                                            Senior
 Levy, Erica
                                            Consultant
 Data/Document Review                                                1.50
 Monitoring Trustee Team Meetings                                   10.30

Trustee work plan.

4 StoneTurn time billed to Data/Document Review related to review of the existing record, various agreements

related to the FJ, Asset Preservation Stipulation and Order (“APSO”), and divestiture, and documents from the
United States vs. ASSA ABLOY trial and review of information regarding the parties’ products.

5 StoneTurn time billed to Other included participating on quarterly earnings calls for the parties or obtaining

security clearance from the Department of Justice.


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 and Communications
 Planning and Project Management                                27.00
                                         Senior
 Nguyen, Thanh
                                         Consultant
 Data/Document Review                                           10.50
 Monitoring Trustee Team Meetings                                1.50
 and Communications
 Planning and Project Management                                  0.20
 Dixon, Tate                             Consultant
 Data/Document Review                                             5.00
 Monitoring Trustee Team Meetings                                 9.50
 and Communications
 Other                                                           1.40
 Planning and Project Management                                11.80
 Travel                                                         10.00
                                         General and
 Luk, Belvon
                                         Administrative
 Planning and Project Management                                14.40
 Total hours:                                                  257.20



 Description                                         Hours                      Amount
 Analysis                                              5.00                 $ 4,750.00
 Data/Document Review                                 30.30                 $ 17,082.50
 DOJ Meetings and Communications                       4.60                 $ 3,910.00
 Interviews                                            5.40                 $ 4,590.00
 Monitoring Trustee Team Meetings and Communications  60.00                 $ 37,220.00
 Other                                                 2.80                 $ 1,540.00
 Planning and Project Management                     123.80                 $ 74,135.00
 Travel                                               25.30                 $ 16,285.00
 Total Fees:                                         257.20                 $ 159,512.50


TIME SUMMARY BATES WHITE:

                                                                    Professional
 Description                                       Hours                Fees
 Analysis 6                                         19.6               $16,527.50
 Data/Document Review                               85.4               $48,388.50
 DOJ Meetings & Communications                      17.9               $13,695.50
 Interviews                                         13.6                $8,419.00
 Monitoring Trustee Team Meetings &
 Communications                                      33.4                $26,826.50

6 Bates White Analysis and Data/Document Review time pertained to preparation for the competitive intensity

analysis.


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 Planning and Project Management                      11.0               $9,759.00
 Grand Total                                         180.9             $123,616.00



 EXPENSES: 7
 Airfare / Rail                                                                              $2,195.62
 Car / Cab / Parking / Ground Transportation                                                   $723.72
 Hotel                                                                                       $1,930.19
 Meals (Employee Travel Related)                                                               $117.32
 Total Expenses Due                                                                          $4,966.85

TOTAL AMOUNT DUE ON THIS INVOICE:                                                         $439,185.35

                Payment for services rendered is due within 30 days of receipt of
                this invoice.
                PLEASE SEE ATTACHED DETAILS BELOW
                Wiring instructions:
                Citibank NA
                Account No. 15479862
                ABA Routing No. 254070116
                Swift code: CITIUS33
                Account Name: Hausfeld LLP IOLTA




7 Travel expenses on this invoice pertain to costs incurred by Stoneturn in attending an in-person MTT meeting

and meeting with the DOJ (scheduled adjacent to each other to save costs and time).


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                                                                                  T +1 202 540 7200

                                                                                            January 24, 2024

L. Page Heslin                                                                               Invoice:2002394
ASSA ABLOY Inc.                                                                       Client No: 200063.0001
110 Sargent Drive
New Haven, CT 06511
                                                                                                  Page 1 of 5



Re: United States of America v. Assa Abloy

For services rendered in relation to the above-referenced matter December 1, 2023 through December 31, 2023


 TIME SUMMARY HAUSFELD LLP: 1

  Name and Description                                  Title           Hours
  Coolidge, Melinda R.                                  Partner
  Analysis                                                                6.10
  Data / Document Review                                                  0.50
  DOJ Meetings and Communications                                         1.50
  Interviews                                                              0.80
  Monitoring Trustee Team Meetings &                                      4.10
  Communications
  Planning and Project Management                                         1.10
  Ringeling, Camila                                     Associate
  Analysis                                                               17.50
  Data / Document Review                                                 11.00
  Monitoring Trustee Team Meetings &                                      2.50
  Communications
  Robinson, Elliot                                      Paralegal
  Planning and Project Management                                         6.00
  Shin, Jane                                            Associate
  Analysis                                                               22.60
  Monitoring Trustee Team Meetings &                                      4.10
  Communications
  Planning and Project Management                                         0.70
  Weick, Daniel                                         Counsel
  Analysis                                                                3.60
  DOJ Meetings and Communications                                         2.80


1 Nearly all of Hausfeld’s time in December was spent on assessing compliance with the FJ and APSO.




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  Interviews                                                                 0.30
  Monitoring Trustee Team Meetings &                                         5.70
  Communications
  Planning and Project Management                                            0.60
  Total hours:                                                              91.50


  Description                                                  Hours        Amount
  Analysis                                                      49.80    $30,530.00
  Data / Document Review                                        11.50     $5,960.00
  DOJ Meetings and Communications                                4.30     $3,760.00
  Interviews                                                     1.10       $991.00
  Monitoring Trustee Team Meetings & Communications             16.40    $12,245.00
  Planning and Project Management                                8.40     $4,028.00
  Total Fees:                                                   91.50    $57,514.00




 TIME SUMMARY STONETURN:


  Name and Description                                       Title                       Hours
  Edwards, Michele                                           Partner
  Monitoring Trustee Team Meetings and Communications                                      3.20
  Planning and Project Management                                                          4.50
  Reporting                                                                                4.00
  Liew, Jason                                                Partner
  Monitoring Trustee Team Meetings and Communications
                                                                                           0.90
  Planning and Project Management                                                          4.90
  Van Houten, Lisa                                           Managing Director
  Data/Document Review 2                                                                   2.30
  Monitoring Trustee Team Meetings and Communications                                      3.40
  Other 3                                                                                  1.00
  Planning and Project Management                                                         20.30
  Reporting                                                                                8.00
  Ball, Dana                                                 Managing Director
  Data/Document Review1                                                                    0.20
  Monitoring Trustee Team Meetings and Communications                                      1.30


States vs. ASSA ABLOY trial; and documentation submitted by the parties.
1 StoneTurn time billed to Data/Document Review related to review of the existing record; various agreements

related to the FJ, Asset Preservation Stipulation and Order (“APSO”), and divestiture; documents from the United
States vs. ASSA ABLOY trial; and documentation submitted by the parties.
2 StoneTurn time billed to Other included obtaining security clearance from the Department of Justice.




AMSTERDAM | BERLIN | BOSTON | BRUSSELS | DÜSSELDORF | LONDON | NEW YORK | PARIS | PHILADELPHIA |
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  Planning and Project Management                                                         12.40
  LaRocca, Lauren                                              Manager
  Data/Document Review1                                                                    0.50
  Monitoring Trustee Team Meetings and Communications                                      2.70
  Planning and Project Management                                                         30.30
  Levy, Erica                                                  Senior Consultant
  Monitoring Trustee Team Meetings and Communications
                                                                                           2.70
  Planning and Project Management                                                         16.00
  Nguyen, Thanh                                                Senior Consultant
  Monitoring Trustee Team Meetings and Communications                                      0.90
  Planning and Project Management                                                         20.50
  Dixon, Tate                                                  Consultant
  Data/Document Review1                                                                    1.70
  Planning and Project Management                                                          2.20
                                                               General and
  Luk, Belvon
                                                               Administrative
  Planning and Project Management                                                          7.80
  Total hours:                                                                           151.70



  Description                                                               Hours       Amount
  Data/Document Review                                                        4.70   $ 2,772.50
  Monitoring Trustee Team Meetings and Communications                        15.10   $ 10,505.00
  Other                                                                       1.00   $    750.00
  Planning and Project Management                                           118.90   $ 70,027.50
  Reporting                                                                  12.00   $ 9,800.00
  Total Fees:                                                               151.70   $ 93,855.00




 TIME SUMMARY BATES WHITE:

 Bates White time was spent preparing for, reviewing documents for, and analysis regarding the competitive
 intensity study.


  Name and Description                                 Title             Hours
  Lobel, Scott                                         Partner

       Data/Document Review 4                                               9.20



4 Bates White Data/Document Review time pertained to preparation for the competitive intensity analysis.




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     DOJ Meetings & Communications                                   3.30
     Monitoring Trustee Team Meetings &
  Communications                                                     0.90

      Planning and Project Management                                2.80
  Zayats, Slava                                Partner

      Data/Document Review                                           3.70

      DOJ Meetings & Communications                                  7.30

     Interviews                                                      0.80
     Monitoring Trustee Team Meetings &
  Communications                                                     3.40

      Planning and Project Management                                4.50
                                               Senior
  Belavadi, Tanmay                             Economist

      Data/Document Review                                       59.90

      DOJ Meetings & Communications                              20.50

     Interviews                                                      1.20
     Monitoring Trustee Team Meetings &
  Communications                                                     5.20

      Planning and Project Management                                4.50
                                               Senior
  Stone, Christopher                           Consultant

      Data/Document Review                                       24.80

     DOJ Meetings & Communications                                   4.30
     Monitoring Trustee Team Meetings &
  Communications                                                     1.50
  Rubenstein, Hannah                           Consultant

      Data/Document Review                                       58.10

     DOJ Meetings & Communications                                   4.90
     Monitoring Trustee Team Meetings &
  Communications                                                     2.30

  Total Hours                                                   223.10


  Description                                               Hours           Professional
                                                                                   Fees
  Data/Document Review                                      155.70            $81,416.00
  DOJ Meetings & Communications                              40.30           $26,704.50
  Interviews                                                  2.00             $1,570.00




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  Monitoring Trustee Team Meetings &                             13.30          $9,146.00
  Communications
  Planning and Project Management                                11.80          $9,987.50
  Grand Total                                                   223.10       $128,824.00


 HAUSFELD EXPENSES:
Taxi                                                                                        $53.73
Westlaw Usage                                                                            $106.74
Total Expenses due                                                                       $160.47



TOTAL AMOUNT DUE ON THIS INVOICE:                                             $280,353.47



                Payment for services rendered is due within 30 days of receipt of this
                invoice.
                PLEASE SEE ATTACHED DETAILS BELOW
                Wiring instructions:
                Citibank NA
                Account No. 15479862
                ABA Routing No. 254070116
                Swift code: CITIUS33
                Account Name: Hausfeld LLP IOLTA




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                                                                                           T +1 202 540 7200


                                                                                                       February 23, 2024

L. Page Heslin                                                                                           Invoice: 2002418
ASSA ABLOY Inc.                                                                                   Client No: 200063.0001
110 Sargent Drive
New Haven, CT 06511
                                                                                                              Page 1 of 6



Re: United States of America v. Assa Abloy

For services rendered in relation to the above‐referenced matter January 1, 2024 through January 31, 2024


   TIME SUMMARY HAUSFELD LLP:

   Hausfeld time was spent mostly on compliance‐related analysis, with some minimal time spent on competitive
   intensity inquiry.

    Name and Description                                               Title            Hours
    Coolidge, Melinda R.                                               Partner
    Analysis                                                                            11.80
    DOJ Meetings and Communications                                                      3.30
    Interviews                                                                           7.10
    Monitoring Trustee Team Meetings and Communications                                  6.50
    Other                                                                                0.40
    Planning and Project Management                                                      1.20
    Reporting                                                                            0.50
    Ringeling, Camila                                                  Associate
    Analysis                                                                            61.90
    Data / Document Review                                                               7.60
    Interviews                                                                           5.00
    Monitoring Trustee Team Meetings and Communications                                  9.20
    Other                                                                                0.10
    Robinson, Elliot                                                   Paralegal
    Planning and Project Management                                                      6.00
    Shin, Jane                                                         Associate
    Analysis                                                                            27.50
    DOJ Meetings and Communications                                                      1.40
    Interviews                                                                           4.70


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    Monitoring Trustee Team Meetings and Communications                                9.20
    Planning and Project Management                                                    2.90
    Reporting                                                                          8.50
    Weick, Daniel                                                    Counsel
    Analysis                                                                         20.60
    DOJ Meetings and Communications                                                   1.70
    Interviews                                                                        6.10
    Monitoring Trustee Team Meetings and Communications                               9.00
    Reporting                                                                        28.50
    Total hours:                                                                    240.70



    Description                                                            Hours       Amount
    Analysis                                                              121.80  78,429.00
    Data / Document Review                                                  7.60   3,952.00
    DOJ Meetings and Communications                                         6.40   5,391.00
    Interviews                                                             22.90  17,372.00
    Monitoring Trustee Team Meetings and Communications                    33.90  24,394.00
    Other                                                                   0.50     420.00
    Planning and Project Management                                        10.10   5,089.00
    Reporting                                                              37.50  30,210.00
    Total Fees:                                                           240.70 165,257.00




   TIME SUMMARY STONETURN:


    Name and Description                      Title                  Hours
    Edwards, Michele                          Partner

    Analysis                                                              20.8

    Data/Document Review1                                                  0.3

    DOJ Meetings and Communications                                        1.7

    Interviews                                                             5.7
    Monitoring Trustee Team Meetings
    and Communications                                                    16.4

1
  StoneTurn time billed to Data/Document Review related to review of the existing record; various agreements
related to the FJ, Asset Preservation Stipulation and Order (“APSO”), and divestiture; documents from the United
States vs. ASSA ABLOY trial; and documentation provided by the parties.


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   Reporting                                                 15.9
   Liew, Jason                        Partner

   Analysis                                                    3.3

   Interviews                                                  1.7
   Monitoring Trustee Team Meetings
   and Communications                                          2.8

   Reporting                                                   0.5
   Van Houten, Lisa                   Managing Director

   Analysis                                                  21.6

   Data/Document Review1                                       7.1

   DOJ Meetings and Communications                             1.7

   Interviews                                                  6.3
   Monitoring Trustee Team Meetings
   and Communications                                        25.5

   Planning and Project Management                             2.6

   Reporting                                                 31.6
   Ball, Dana                         Managing Director

   Analysis                                                  12.3

   Data/Document Review1                                       8.9
   Monitoring Trustee Team Meetings
   and Communications                                        10.5

   Reporting                                                 21.3
   LaRocca, Lauren                    Managing Director

   Analysis                                                  22.1

   Data/Document Review1                                       3.7

   Interviews                                                  1.0
   Monitoring Trustee Team Meetings
   and Communications                                        12.1

   Planning and Project Management                             3.1
   Reporting


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                                                                50.1
   Levy, Erica                        Senior Consultant

   Analysis                                                      7.3

   Data/Document Review1                                         4.1
   Monitoring Trustee Team Meetings
   and Communications                                            8.6

   Planning and Project Management                               5.4

   Reporting                                                    32.7
   Nguyen, Thanh                      Senior Consultant

   Analysis                                                     37.1

   Data/Document Review1                                         8.4

   Interviews                                                    1.7
   Monitoring Trustee Team Meetings
   and Communications                                            2.8

   Reporting                                                    16.7
                                      General and
   Luk, Belvon                        Administrative
   Monitoring Trustee Team Meetings
   and Communications                                            1.6

   Planning and Project Management                            7.1
   Total hours:                                            441.10



   Description                                          Hours       Amount
   Analysis                                             124.5     $ 85,162.00
   Data/Document Review                                  32.5     $ 20,628.50
   DOJ Meetings and Communications                        3.4     $ 3,026.00
   Interviews                                            16.4     $ 13,637.50
   Monitoring Trustee Team Meetings and Communications   80.3     $ 60,719.00
   Planning and Project Management                       18.2     $ 8,877.50
   Reporting                                            168.8     $ 114,039.50
   Total Fees:                                         441.10     $ 306,090.00




  TIME SUMMARY BATES WHITE:



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  Bates White time was spent preparing for, reviewing documents for, and analysis regarding the competitive intensity study.

   Name and Description                                     Title              Hours
   Lobel, Scott                                             Partner

        Analysis                                                                 7.30

        Data/Document Review                                                     1.60

        DOJ Meetings & Communications                                            6.80

      Interviews                                                                 8.00
      Monitoring Trustee Team Meetings &
   Communications                                                                6.10

        Planning and Project Management                                          7.30
   Zayats, Slava                                            Partner

        Analysis                                                                 3.00

        Data/Document Review                                                     0.50

        DOJ Meetings & Communications                                            3.40

      Interviews                                                                 3.00
      Monitoring Trustee Team Meetings &
   Communications                                                                5.50

        Planning and Project Management                                          9.20
                                                            Senior
   Belavadi, Tanmay                                         Economist

        Analysis                                                                45.40

        Data/Document Review                                                     7.10

        DOJ Meetings & Communications                                           17.80

      Interviews                                                                15.60
      Monitoring Trustee Team Meetings &
   Communications                                                               13.80

        Planning and Project Management                                         15.40
                                                            Senior
   Stone, Christopher                                       Consultant

        Analysis                                                                36.10

        Data/Document Review                                                     0.60

        DOJ Meetings & Communications                                            1.00


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      Interviews                                                                   6.90
      Monitoring Trustee Team Meetings &
   Communications                                                                  3.00
   Rubenstein, Hannah                                         Consultant

       Analysis                                                                   51.90

       Data/Document Review                                                        2.70

       DOJ Meetings & Communications                                               2.10

      Interviews                                                                   2.30
      Monitoring Trustee Team Meetings &
   Communications                                                                  1.80

       Planning and Project Management                                             1.70

   Total Hours                                                                   286.90


   Description                                                    Hours     Professional Fees
   Analysis                                                       143.70           $83,064.50
   Data/Document Review                                            12.50            $8,359.00
   DOJ Meetings & Communications                                   31.10           $24,334.50
   Interviews                                                      35.80           $26,907.50
   Monitoring Trustee Team Meetings &                              30.20           $24,859.00
   Communications
   Planning and Project Management                                 33.60           $30,392.50
   Grand Total                                                   286.90          $197,917.00


  HAUSFELD LLP EXPENSES:
  Westlaw Usage                                                                                         $517.32
  Total Expenses due                                                                                    $517.32



TOTAL AMOUNT DUE ON THIS INVOICE:                                                         $669,781.32


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                  Citibank NA
                  Account No. 15479862
                  ABA Routing No. 254070116
                  Swift code: CITIUS33
                  Account Name: Hausfeld LLP IOLTA



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                                                                                  88816th Street NW
                                                                                  Suite 300
                                                                                  Washington, DC 20006

                                                                                  T +1 202 540 7200


                                                                                                 April 1, 2024

L. Page Heslin                                                                               Invoice: 2002461
ASSA ABLOY Inc.                                                                       Client No: 200063.0001
110 Sargent Drive
New Haven, CT 06511
                                                                                                     Page 1 of 5




Re: United States of America v. Assa Abloy


For services rendered in relation to the above-referenced matter February 1, 2024 through February 29, 2024



  TIME SUMMARY HAUSFELD LIP:

  Hausfeld time was spent mostly on compliance-related analysis, with some minimal time spent on
  competitive intensity inquiry.



    Name and Description                                        Title                       Hours
    Coolidge, Melinda R.                                        Partner
    Analysis                                                                                  9.80
    Data / Document Review                                                                    5.20
    DOJ Meetings and Communications                                                           3.10
    Interviews                                                                                1.20
    Monitoring Trustee Team Meetings and Communications                                       5.90
    Planning and Project Management                                                           0.40
    Reporting                                                                               27.10
    Ringeling, Camila                                           Associate
    Analysis                                                                                  9.20
    Data / Document Review                                                                  44.10
    Monitoring Trustee Team Meetings and Communications                                       8.10
    Other                                                                                     0.20
    Robinson, Elliot                                            Paralegal
    Monitoring Trustee Team Meetings and Communications                                       1.30
    Planning and Project Management                                                           2.10
    Reporting                                                                                 9.50
   _Shin, Jane                                                  Associate


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                                                                                        HAUSFELD.
    Analysis                                                                                       20.80
    DOJ Meetings and Communications                                                                 0.30
    Monitoring Trustee Team Meetings and Communications                                             6.30
    Planning and Project Management                                                                 1.50
    Reporting                                                                                      19.10
    Weick, Daniel                                                    Counsel
    Analysis                                                                                       17.20
    DOJ Meetings and Communications                                                                 1.00
    Monitoring Trustee Team Meetings and Communications                                             4.70
    Planning and Project Management                                                                 2.20
    Reporting                                                                                      10.40
    Total hours:                                                                                  210.70



    Description                                                             Hours     Amount
    Analysis                                                                57.00    41,940.00
    Data / Document Review                                                  49.30    27,716.00
    DOJ Meetings and Communications                                          4.40     3,897.00
    Interviews                                                               1.20     1,104.00
    Monitoring Trustee Team Meetings and Communications                     26.30    18,185.00
    Other                                                                    0.20       104.00
    Planning and Project Management                                          6.20     3,948.00
    Reporting                                                               66.10    49,512.00
    Total Fees:                                                           210.70    146,406.00



   TIME SUMMARY STONETURN:



    Name and Description                                          Title                          Hours
    Edwards, Michele                                              Partner
    Analysis                                                                                         1.5
    DOJ Meetings and Communications                                                                 .70
    Monitoring Trustee Team Meetings and Communications                                            10.3
    Reporting                                                                                      18.5
    hew, Jason                                                    Partner
    Monitoring Trustee Team Meetings and Communications                                              1.2
    Van Houten, Lisa                                              Managing Director
    Analysis                                                                                       16.7
    Data/Document Review'                                                                           1.4

1 StoneTurn time billed to Data/Document Review related to review of the existing record; various agreements
related to the Final Judgment ("Fl"), Asset Preservation Stipulation and Order ("APSO"), and Divestiture Agreements;
and documentation provided by the parties.
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                                                                                  HAUSFELD.
    DOJ Meetings and Communications                                                         .70
    Monitoring Trustee Team Meetings and Communications                                    15.8
    Planning and Project Management                                                         2.6
   Reporting                                                                               27.1
   Ball, Dana                                             Managing Director
   Analysis                                                                                 4.9
    Data/Document Review'                                                                   1.5
    Monitoring Trustee Team Meetings and Communications                                    13.3
   Reporting                                                                                2.5
   LaRocca, Lauren                                        Managing Director
   Analysis                                                                                24.2
    Monitoring Trustee Team Meetings and Communications                                    14.6
    Planning and Project Management                                                         2.9
   Reporting                                                                               22.0
   Levy, Erica                                            Senior Consultant
   Analysis                                                                                21.5
    Monitoring Trustee Team Meetings and Communications                                     8.7
    Planning and Project Management                                                         3.6
   Reporting                                                                                1.1
   Nguyen, Thanh                                          Senior Consultant
   Analysis                                                                                 2.3
    Monitoring Trustee Team Meetings and Communications                                     .90
   Staebler, Oscar                                        Consultant
   Analysis                                                                                 1.0
    Planning and Project Management                                                         .50
                                                          General and
   Luk, Be!von                                            Administrative
    Planning and Project Management                                                         1.1
   Total hours:                                                                           223.1



   Description                                                         Hours          Amount
   Analysis                                                                72.1   $ 46,223.50
    Data/Document Review'                                                   2.9   $    2,201.50
    DOJ Meetings and Communications                                         1.4   $    1,246.00
    Monitoring Trustee Team Meetings and Communications                    64.8   $ 48,065.00
    Planning and Project Management                                        10.7   $    6,222.50
   Reporting                                                               71.2   $ 57,413.50
   Total Fees:                                                         223.1      $ 161,372.00




  TIME SUMMARY BATES WHITE:



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                                                                                 HAUSFELD.
  Bates White time was spent preparing for, reviewing documents for, and analysis regarding the competitive intensity
  study.



   Name and Description                                                  ours
   Lobel, Scott
        Analysis                                                           6.5
        Data/Document Review                                               2.8
        DOJ Meetings & Communications                                      3.3
      Monitoring Trustee Team Meetings &
   Communications                                                         6.2
        Planning and Project Management                                    9.0
   Zayats, Slava                                      Partner
        Analysis                                                           2.3
        DOJ Meetings & Communications                                     1.3
      Monitoring Trustee Team Meetings &
   Communications                                                          2.2
        Planning and Project Management                                   7.0
                                                      Senior
   Belavadi, Tan may                                  Economist
        Analysis                                                         90.0
        Data/Document Review                                              6.2
        DOJ Meetings & Communications                                     6.7
      Monitoring Trustee Team Meetings &
   Communications                                                          9.1
        Planning and Project Management                                  15.8
                                                      Senior
   Stone, Christopher                                 Consultant
        Analysis                                                         22
      Monitoring Trustee Team Meetings &
   Communications                                                         1.3
                                                      Senior
   Haseeb Bajwa                                       Consultant
        Analysis                                                         67.5
        Data/Document Review                                             10.1
      Monitoring Trustee Team Meetings &
   Communications                                                         1.7
   Rubenstein, Hannah                                 Consultant
        Analysis                                                         11.0
        Data/Document Review                                             17.3
      Monitoring Trustee Team Meetings &
   Communications                                                         1.0
        Planning and Project Management                                   0.5
   Total Hours                                                          300.8


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                                                                                       HAUSFELD.
                                                                        Professional
    Description                                         Hours              Fees
    Analysis                                            199.3              $119,977.50
    Data/Document Review                                 36.4               $19,627.00
    DOJ Meetings & Communications                       11.3                 $9,376.50
    Monitoring Trustee Team Meetings &
    Communications                                       21.5               $17,082.00
    Planning and Project Management                      32.3               $28,858.50
    Grand Total                                         300.8              $194,921.50




   HAUSFELD LLP EXPENSES:
  Travel Related                                                                                    $1,225.052
  Westlaw Usage                                                                                     $1,255.83
  Total Expenses due                                                                                $2,480.88




TOTAL AMOUNT DUE ON THIS INVOICE:                                                  $505,180.38



                  Payment for services rendered is due within 30 days of receipt of this invoice.
                  PLEASE SEE ATTACHED DETAILS BELOW
                  Wiring instructions:
                  Citibank NA
                  Account No. 15479862
                  ABA Routing No. 254070116
                  Swift code: CITIUS33
                  Account Name: Hausfeld LLP IOLTA




2 Attending meeting with DOJ.

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                                                                                 T +1 202 540 7200


                                                                                                May 8, 2024

L. Page Heslin                                                                              Invoice: 2002473
ASSA ABLOY Inc.                                                                      Client No: 200063.0001
110 Sargent Drive
New Haven, CT 06511
                                                                                                 Page 1 of 6



Re: United States of America v. Assa Abloy

For services rendered in relation to the above‐referenced matter March 1, 2024 through March 31, 2024


    Name and Description                                       Title                   Hours
    Coolidge, Melinda R.                                       Partner
    Analysis                                                                           10.40
    Data Document Review                                                                8.90
    DOJ Meetings and Communications                                                     4.30
    Interviews                                                                          4.20
    Monitoring Trustee Team Meetings and Communications                                18.50
    Planning and Project Management                                                     0.50
    Durunna, Uchechi                                           Senior Staff
                                                               Attorney
    Monitoring Trustee Team Meetings and Communications                                12.70
    Data Document Review                                                               49.80
    Ringeling, Camila                                          Associate
    Analysis                                                                           20.40
    Data Document Review                                                               16.70
    Monitoring Trustee Team Meetings and Communications                                18.90
    Robinson, Elliot                                           Paralegal
    Monitoring Trustee Team Meetings and Communications                                 1.50
    Planning and Project Management                                                     1.80
    Shin, Jane                                                 Associate
    Analysis                                                                           10.30
    DOJ Meetings and Communications                                                     2.70
    Monitoring Trustee Team Meetings and Communications                                22.10
    Planning and Project Management                                                     1.10



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    Weick, Daniel                                                   Counsel
    Analysis                                                                                  13.40
    DOJ Meetings and Communications                                                            1.90
    Monitoring Trustee Team Meetings and Communications                                       13.20
    Planning and Project Management                                                            9.90
    Travel                                                                                    14.10
    Total hours:                                                                             257.30


    Description                                                          Hours   Amount
    Analysis                                                             54.50  38,261.00
    Data Document Review                                                 75.40  40,776.00
    DOJ Meetings and Communications                                       8.90   7,326.00
    Interviews                                                            4.20   3,864.00
    Monitoring Trustee Team Meetings and Communications                  86.90  59,054.00
    Planning and Project Management                                      13.30  10,220.00
    Travel                                                               14.10  11,985.00
    Total Fees:                                                         257.30 171,486.00




   TIME SUMMARY STONETURN:


    Name and Description                      Title                  Hours
    Edwards, Michele                          Partner
    Analysis                                                              12.7
    DOJ Meetings and Communications                                        1.2
    Interviews                                                             1.2
    Monitoring Trustee Team Meetings
    and Communications                                                    13.7
    Travel                                                                 4.6
    Liew, Jason                               Partner
    Analysis                                                                 .3
    Monitoring Trustee Team Meetings
    and Communications                                                     1.6
    Van Houten, Lisa                          Managing Director
    Analysis                                                              77.3
    Data/Document Review1                                                  1.1
    DOJ Meetings and Communications                                        1.2


1
  StoneTurn time billed to Data/Document Review related to review of the existing record; various agreements
related to the Final Judgment (“FJ”), Asset Preservation Stipulation and Order (“APSO”), and Divestiture Agreements;
and documentation provided by the parties.


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   Interviews                                                  1.2
   Monitoring Trustee Team Meetings
   and Communications                                        26.2
   Planning and Project Management                             .3
   Travel                                                     6.8
   Ball, Dana                         Managing Director
   Analysis                                                    19
   Data/Document Review1                                        .2
   Monitoring Trustee Team Meetings
   and Communications                                        16.5
   LaRocca, Lauren                    Managing Director
   Analysis                                                  33.5
   Data/Document Review¹                                      2.8
   Monitoring Trustee Team Meetings
   and Communications                                        14.7
   Levy, Erica                        Senior Consultant
   Analysis                                                  22.8
   Monitoring Trustee Team Meetings
   and Communications                                        15.4
   Planning and Project Management                            1.7
   Nguyen, Thanh                      Senior Consultant
   Analysis                                                    9.7
   Monitoring Trustee Team Meetings
   and Communications                                          1.1
   Staebler, Oscar                    Consultant
   Analysis                                                    4.3
   Monitoring Trustee Team Meetings
   and Communications                                          1.0
   Planning and Project Management                              .5
                                      General and
   Luk, Belvon                        Administrative
   Planning and Project Management                            4.2
   Total hours:                                             296.8




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   Description                                               Hours         Amount
   Analysis                                                  179.6     $ 127,222.50
   Data/Document Review1                                       4.1     $   2,970.50
   DOJ Meetings and Communications                             2.4     $   2,136.00
   Interviews                                                  2.4     $   2,136.00
   Monitoring Trustee Team Meetings and Communications        90.2     $ 65,875.00
   Planning and Project Management                             6.7     $   2,508.50
   Travel                                                     11.4     $   9,915.00
   Total Fees:                                               296.8     $ 212,763.50




  TIME SUMMARY BATES WHITE:

  Bates White time was spent preparing for, reviewing documents for, and analysis regarding the competitive intensity
  study.

   Name and Description                               Title             Hours
   Lobel, Scott                                       Partner
       Analysis                                                          10.2
       Data/Document Review                                               3.0
       DOJ Meetings & Communications                                      5.1
       Monitoring Trustee Team Meetings &
   Communications                                                          5.2
       Planning and Project Management                                     2.9
   Zayats, Slava                                      Partner
       Analysis                                                            3.9
       Data/Document Review                                                0.5
       DOJ Meetings & Communications                                       1.3
       Monitoring Trustee Team Meetings &
   Communications                                                          6.8
       Planning and Project Management                                     4.5
                                                      Senior
   Belavadi, Tanmay                                   Economist
       Analysis                                                          87.6
       Data/Document Review                                              19.5
       DOJ Meetings & Communications                                      3.5
       Monitoring Trustee Team Meetings &
   Communications                                                        20.6
       Planning and Project Management                                   10.0
                                                      Senior
   Stone, Christopher                                 Consultant
       Analysis                                                          16.1



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          Monitoring Trustee Team Meetings &
       Communications                                              1.3
          Planning and Project Management                          1.2
                                                  Senior
       Haseeb Bajwa                               Consultant
            Analysis                                              66.2
            Monitoring Trustee Team Meetings &
       Communications                                              1.1
       Rubenstein, Hannah                         Consultant
            Analysis                                               0.8
            Data/Document Review                                  12.0
            Monitoring Trustee Team Meetings &
       Communications                                              0.8
            Planning and Project Management                        1.2
       Total Hours                                               285.3




                                                               Professional
       Description                                Hours            Fees
       Analysis                                   184.8          $115,925.00
       Data/Document Review                        35.0           $21,472.50
       DOJ Meetings & Communications               9.9              $9,112.50
       Monitoring Trustee Team Meetings &
       Communications                              35.8           $29,307.50
       Planning and Project Management             19.8           $16,607.00
       Grand Total                                285.3          $192,424.50



     HAUSFELD LLP EXPENSES:
     Travel Related                                                               $408.432
     Westlaw Usage                                                                 $72.23
     Total Expenses due                                                           $480.66


    STONETURN EXPENSES:                                                          Amount
    Airfare / Rail                                                              $ 631.41
    Car / Cab / Parking / Ground Transportation                                 $ 262.44
    Hotel                                                                       $ 486.99
    Meals (Employee Travel Related)                                             $ 69.24
    Total Expenses Due                                                          $ 1,450.08

2
    Meeting in office.


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TOTAL AMOUNT DUE ON THIS INVOICE:                                              $578,604.74


              Payment for services rendered is due within 30 days of receipt of this invoice.
              PLEASE SEE ATTACHED DETAILS BELOW
              Wiring instructions:
              Citibank NA
              Account No. 15479862
              ABA Routing No. 254070116
              Swift code: CITIUS33
              Account Name: Hausfeld LLP IOLTA




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                                                                                    T +1 202 540 7200


                                                                                                  June 17, 2024

L. Page Heslin                                                                                 Invoice: 2002522
ASSA ABLOY Inc.                                                                         Client No: 200063.0001
110 Sargent Drive
New Haven, CT 06511
                                                                                                        Page 1 of 5



Re: United States of America v. Assa Abloy

For services rendered in relation to the above‐referenced matter April 1, 2024 through April 30, 2024


   Name and Description                                         Title                     Hours
   Coolidge, Melinda R.                                         Partner
   Analysis                                                                                2.20
   Data Document Review                                                                    5.60
   DOJ Meetings and Communications                                                         2.70
   Interviews                                                                              5.40
   Monitoring Trustee Team Meetings and Communications                                    10.20
   Other                                                                                   1.30
   Planning and Project Management                                                         4.10
   Durunna, Uchechi                                             Senior Staff
                                                                Attorney
   Analysis                                                                               12.50
   Data Document Review                                                                   90.00
   Monitoring Trustee Team Meetings and Communications                                    26.00
   Ringeling, Camila                                            Associate
   Data Document Review                                                                   20.20
   Monitoring Trustee Team Meetings and Communications                                     2.60
   Robinson, Elliot                                             Paralegal
   Monitoring Trustee Team Meetings and Communications                                     0.50
   Planning and Project Management                                                         5.90
   Shin, Jane                                                   Associate
   Analysis                                                                                1.50
   DOJ Meetings and Communications                                                         1.60
   Monitoring Trustee Team Meetings and Communications                                     5.50



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     Planning and Project Management                                                           1.30
     Weick, Daniel                                                 Counsel
     Analysis                                                                                 33.60
     DOJ Meetings and Communications                                                           3.30
     Monitoring Trustee Team Meetings and Communications                                      19.40
     Planning and Project Management                                                           8.20
     Total hours:                                                                            263.60

     Description                                                     Hours        Amount
     Analysis                                                        49.80       37,559.00
     DataDocument Review                                            115.80       58,856.00
     DOJ Meetings and Communications                                  7.60        6,329.00
     Interviews                                                       5.40        4,968.00
     Monitoring Trustee Team Meetings and Communications             64.20       43,456.00
     Other                                                            1.30        1,196.00
     Planning and Project Management                                 19.50       13,652.00
     Total Fees:                                                    263.60      166,016.00

    TIME SUMMARY STONETURN:

     Name and Description                    Title                 Hours
     Edwards, Michele                        Partner
     Analysis                                                           10.9
     DOJ Meetings and Communications                                     2.3
     Interviews                                                          1.0
     Monitoring Trustee Team Meetings
     and Communications                                                 14.0
     Reporting                                                            .7
     Liew, Jason                             Partner
     Analysis                                                              .2
     Monitoring Trustee Team Meetings
     and Communications                                                    .5
     Van Houten, Lisa                        Managing Director
     Analysis                                                           51.7
     Data/Document Review1                                               2.0
     DOJ Meetings and Communications                                     1.7
     Interviews                                                          2.8
     Monitoring Trustee Team Meetings
     and Communications                                                 17.6
     Planning and Project Management                                      .6
     Reporting                                                           3.6
     Ball, Dana                              Managing Director

1
    StoneTurn time billed to Data/Document Review related to documentation produced the Parties.


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  Analysis                                                        2.4
  Interviews                                                       .4
  Monitoring Trustee Team Meetings
  and Communications                                              4.9
  LaRocca, Lauren                    Managing Director
  Analysis                                                       21.7
  DOJ Meetings and Communications                                  .6
  Monitoring Trustee Team Meetings
  and Communications                                             10.7
  Planning and Project Management                                 1.1
  Levy, Erica                        Senior Consultant
  Analysis                                                       30.4
  Data/Document Review1                                           1.1
  Monitoring Trustee Team Meetings
  and Communications                                              8.7
  Planning and Project Management                                 6.0
  Nguyen, Thanh                      Senior Consultant
  Analysis                                                        5.3
  Monitoring Trustee Team Meetings
  and Communications                                               .5
  Staebler, Oscar                    Consultant
  Analysis                                                        7.0
  Monitoring Trustee Team Meetings
  and Communications                                              2.5
                                     General and
  Luk, Belvon                        Administrative
  Planning and Project Management                              3.8
  Total hours:                                               216.7


  Description                                            Hours      Amount
  Analysis                                               129.6    $ 87,222.00
  Data/Document Review1                                    3.1    $ 2,065.00
  DOJ Meetings and Communications                          4.6    $ 4,043.00
  Interviews                                               7.4    $ 4,495.00
  Monitoring Trustee Team Meetings and Communications     59.4    $ 44,360.00
  Planning and Project Management                          8.3    $ 4,130.00
  Reporting                                                4.3    $ 3,522.50
  Total Fees:                                            216.7    $ 149,837.50




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 TIME SUMMARY BATES WHITE:

 Bates White time was spent preparing for, reviewing documents for, and analysis regarding the competitive intensity
 study.

   Name and Description                              Title             Hours
  Lobel, Scott                                       Partner
      Analysis                                                          10.7
      Data/Document Review                                               1.6
      Interviews                                                         4.0
      DOJ Meetings & Communications                                      1.4
      Monitoring Trustee Team Meetings &
  Communications                                                          8.4
      Planning and Project Management                                     1.7
  Zayats, Slava                                      Partner
      Analysis                                                            2.0
      DOJ Meetings & Communications                                       1.0
      Monitoring Trustee Team Meetings &
  Communications                                                          4.7
      Planning and Project Management                                     1.1
                                                     Senior
  Belavadi, Tanmay                                   Economist
      Analysis                                                         112.9
      Data/Document Review                                              13.5
      Interviews                                                         2.2
      DOJ Meetings & Communications                                      0.8
      Monitoring Trustee Team Meetings &
  Communications                                                        13.8
      Planning and Project Management                                    4.8
                                                     Senior
  Stone, Christopher                                 Consultant
      Analysis                                                          27.0
      Monitoring Trustee Team Meetings &
  Communications                                                          3.1
                                                     Senior
  Haseeb Bajwa                                       Consultant
      Analysis                                                          53.3
      Data/Document Review                                              18.5
      Monitoring Trustee Team Meetings &
  Communications                                                          3.6
  Rubenstein, Hannah                                 Consultant
      Analysis                                                            1.4
      Data/Document Review                                                2.3
      Monitoring Trustee Team Meetings &
  Communications                                                          1.1


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   Total Hours                                                             294.9
                                                                         Professional
   Description                                          Hours                Fees
   Analysis                                             207.3              $129,662.00
   Data/Document Review                                  35.9               $21,020.50
   Interviews                                            6.2                  $5,419.00
   DOJ Meetings & Communications                         3.2                  $3,266.00
   Monitoring Trustee Team Meetings &
   Communications                                        34.7               $27,719.50
   Planning and Project Management                       7.6                 $6,281.00
   Grand Total                                          294.9              $193,368.00


  HAUSFELD LLP EXPENSES:
  Pacer Usage                                                                                  $15.30
  Westlaw Usage                                                                               $407.78
  Total Expenses due                                                                          $423.80


STONETURN EXPENSES2:                                                                           Amount
Airfare / Rail                                                                             $ 1,015.232
Car / Cab / Parking / Ground Transportation                                                $    205.71
Hotel                                                                                      $ 1,077.18
Meals (Employee Travel Related)                                                            $     95.33
Total Expenses Due                                                                         $ 2,393.45



TOTAL AMOUNT DUE ON THIS INVOICE:                                                 $512,038.03


                 Payment for services rendered is due within 30 days of receipt of this invoice.
                 PLEASE SEE ATTACHED DETAILS BELOW
                 Wiring instructions:
                 Citibank NA
                 Account No. 15479862
                 ABA Routing No. 254070116
                 Swift code: CITIUS33
                 Account Name: Hausfeld LLP IOLTA




2Travel expenses relate to an in-person Monitoring Trustee Meeting planning and analysis meeting which occurred in

Washington DC on March 19, 2024.


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